    Case 15-10761        Doc 138     Filed 01/16/19 Entered 01/16/19 11:16:08                   Desc Order of
                                    Deficiency-POC/3002 Page 1 of 2
                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS


In Re:   Roosevelt Coles and Karen Kappler Coles ,                 Chapter: 13
         Debtor                                                    Case No: 15−10761
                                                                   Judge Frank J. Bailey

                                 ORDER REGARDING DEFICIENT FILING
                                      (POC and Related Documents)



NOTICE IS HEREBY GIVEN that your recent filing of Notice of Mortgage Payment Change, Re claim #18
on JANUARY 9, 2019 in the above referenced case was deficient and/or defective.

You are hereby ORDERED to file the correct document as noted below. Forms are available at
www.mab.uscourts.gov .



      Incorrect Form Filed (Chapter 13). Please refile using Local Form 18 Notice of Address Change: Payment
and/or Notice of Address or file an amended Proof of Claim.

       Claimholder of Record is Different. The identity of the claimholder on file with the Court is different
from the claimholder listed on the document that you filed.

     1. To change the payment or notice address on a claim. The claimholder of record or their authorized
        agent holding a notarized Power of Attorney or other notarized agreement may file an Amended Proof of
        Claim (Official Form 410) or file a "Notice of Address Change: Payment and/or Notice Address" (Local
        Form 18). Notarized copies reflecting the authority to file on behalf of the claimholder must be filed as an
        attachment.
     2. To transfer ownership of a claim. A Notice of Transfer/Assignment of Claim (Director's Form 2100A)
        must be filed and a fee of $25.00 payable to the U.S. Bankruptcy Court. See FRBP 3001.

Please file the appropriate document in accordance with whichever of the options listed above is applicable.

       Transfer of Claim. A change to the identity of the claimholder may not be effectuated by filing a (1)
Notice of Mortgage Payment Change, (2) Notice of Postpetition Fees and Expenses or (3) a Response to Notice of
Final Cure. No change has been made to the Court's claim registry. Please file a Notice of Transfer/Assignment of
Claim (Director's Form 2100A) and pay the $25.00 fee to the U.S. Bankruptcy Court.

       Declaration Re: Electronic Filing. Local Form 7 is required. See MLBR Appendix 8 MEFR 7(a). Please
file Local Form 7.

       Signature Issue. Pursuant to the Massachusetts Local Bankruptcy Rules, Appendix 8, MEFR 8, the login
and password of an ECF registered user serves as the signature on a document along with a scanned original or
imaged signature or "/s/[your name]". A document that contains the signature of one other than the ECF Registered
user must be filed with a scanned or imaged signature (not "/s/[your name]") along with a Declaration Re:
Electronic Filing (Local Form 7.) You must refile the document and either:

     1. Be sure that the electronic signature "/s/[your name]" is the same as the Registered User in the Court's
        electronic filing system, or
     2. Provide a scanned original or imaged signature on the document along with a signed Declaration Re:
        Electronic Filing (Local Form 7.) Forms are available at www.mab.uscourts.gov.



       Document docketed using wrong event. Due to the deficiency, no address changes have been made to the
Court's official records. Please refile using the event "Notice of Change of Address (Proof of Claim)".
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                                       Deficiency-POC/3002 Page 2 of 2
        Notice of Withdrawal of Claim. The identity of the claimholder on file with the Court is different from the
claimholder listed on the document filed by you. Please provide notarized documentation of your authority to file
this notice on behalf of the claimholder or, if the claim has been transferred/assigned, file a Notice of
Transfer/Assignment of Claim (Director's From 2100A) and pay the $25.00 fee to the U.S. Bankruptcy Court, then
withdraw the claim.

      Other

You are hereby ORDERED to file the above required documents(s) on or before JANUARY 30, 2019 .

FAILURE TO COMPLY MAY RESULT IN FURTHER COURT ACTION THAT COULD AFFECT YOUR
RIGHTS INCLUDING, BUT NOT LIMITED TO, DENIAL OF THE RELIEF OR ACTION REQUESTED OR
DISREGARDING YOUR CLAIM, AS APPROPRIATE.

YOU MUST FILE THESE DOCUMENTS AT THE CLERK'S OFFICE AS INDICATED BELOW.

      United States Bankruptcy Court
      John W. McCormack Post                  United States Bankruptcy Court         United States Bankruptcy Court
      Office and Court House                  211 Donohue Federal Building           United States Courthouse
      5 Post Office Square, Suite             595 Main Street                        300 State Street, Suite 220
      1150                                    Worcester, MA 01608−2076               Springfield, MA 01105−2925
      Boston, MA 02109−3945

Date:1/16/19                                                        By the Court,

                                                                    William McLeod
                                                                    Deputy Clerk
                                                                    617−748−5351
                                                                                                               138 −
